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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                   :
GARY ANDRE WATSON
                                   :

     v.                            : Civil Action No. DKC 2004-1115
                                     Criminal No. DKC 2002-0077
                                   :
UNITED STATES OF AMERICA
                                   :

                         MEMORANDUM OF OPINION

     Presently pending and ready for resolution is the motion of

Gary Andre Watson (Petitioner) to vacate, set aside, or correct his

sentence pursuant to 28 U.S.C. § 2255.            (Paper 148).        For the

reasons that follow, the court will deny Petitioner’s motion.1

I.   Background

     On   September     20,   2002,    Petitioner     pleaded     guilty     to

distribution of cocaine base in violation of 21 U.S.C. § 841.

Petitioner entered into a plea agreement stating that he was guilty

of count five of the superseding indictment, which charged that he

knowingly, intentionally, and unlawfully distributed less than five

grams of a mixture or substance containing a detectable amount of

     1
       Petitioner also filed a motion to amend/correct, to add an
issue. (Paper 154). The Government had not yet filed its answer,
so the motion to amend IS GRANTED. As will be discussed later,
however, the attempted amendment in Petitioner’s Traverse is not
permissible. The Government’s motion for extension of time (paper
153) is GRANTED nunc pro tunc. Petitioner also filed a motion for
leave to file an affidavit (paper 179), and a second affidavit was
later filed, long after the Government filed its answer.       The
motion IS DENIED. Finally, Petitioner’s motion for retroactive
application of sentencing guidelines to crack cocaine offenses was
recently filed (paper 185), and will be considered once the issue
is fully briefed.
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cocaine base.        The charge carried a maximum penalty of 20 years

imprisonment, followed by a term of supervised release of at least

three years, and a fine not to exceed $1,000,000.                     Petitioner

agreed to waive his right to appeal any sentence imposed by this

court, including any issues related to the applicable guideline

range. Petitioner retained the right to appeal his sentence if the

court departed outside the guideline range or the sentence exceeded

the statutory maximum sentence allowed by law.                   Pursuant to the

plea agreement, the other charges in the indictment were dismissed.

During    Petitioner’s      plea   colloquy,    he    acknowledged       that    he

understood his limited appeal rights.

      At the January 6, 2003 sentencing hearing, Petitioner argued

for   a   decrease    in   his   offense    level   pursuant     to   U.S.S.G.   §

3E1.1(b)(2). He also argued for a decrease in his criminal history

category.    The court denied Petitioner’s motions and sentenced him

to a term of 121 months, to be followed by a three year term of

supervised release.

      Petitioner appealed the court’s denial of his requests for a

one-level decrease in his offense level and criminal history

category.      The United States Court of Appeals for the Fourth

Circuit dismissed the appeal on January 15, 2004. United States v.

Watson, No. 03-4085, 85 Fed. App’x 335, 2004 WL 96826, at *1 (4th

Cir. 2004).     The court did not address the merits of Petitioner’s




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appeal, holding that Petitioner had knowingly and intelligently

waived his right to appeal those issues.          Id.

     Petitioner filed the instant § 2255 motion on April 8, 2004.2

He asserted eight grounds for relief, three of which he withdrew in

his Traverse to the Government’s Response.3         (See Paper 169, at 3).

Petitioner alleged that he received ineffective assistance of

counsel with respect to his plea and sentencing in violation of his

Sixth Amendment right to counsel.        Specifically, he claimed that

his counsel, William Kanwisher, was ineffective for (1) failing to

investigate and introduce into evidence records that would have

demonstrated his innocence and would have raised doubts as to his

guilt (paper 148, at 5), (2) failing to introduce the claim that

Petitioner was a minor participant (id., at 7),4 and (3) failing to

protect   Petitioner’s   right   not    to   be   subject     to   unwarranted

punishment by allowing the court to miscalculate his criminal



     2
        Petitioner prematurely moved to vacate the conviction on
May 23, 2003. The motion was dismissed without prejudice. (Paper
128).
     3
         Petitioner withdrew his claims that the court lacked
subject matter jurisdiction, the Government knowingly presented
false testimony to the Grand Jury and the court, and the court
erred by not giving full credit for Petitioner’s timely acceptance
of responsibility.
     4
       Respondent identifies as a separate claim Petitioner’s
argument that his counsel failed to claim that the Government did
not introduce evidence that Petitioner was actively engaged in the
distribution of cocaine base. (Paper 162, at 4). This argument is
properly read as part of Petitioner’s “Minor Role” claim and will
not be addressed separately.

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history (id., at 5).               He also alleged that he was sentenced

pursuant to an unconstitutional indictment.                   (Id., at 17-25).

      On April 23, 2004, the court ordered the Government to respond

to the petition.       (Paper 149).         In the meantime, Petitioner filed

an amendment to his petition to include an argument based on

Blakely v. Washington, 542 U.S. 296 (2004).                    He alleged that the

court     erred   by   enhancing      his    sentence       based   on   conduct    not

specifically set forth in the indictment.                      (Paper 154).         The

Government filed its response on September 10, 2004.                     (Paper 162).

      Petitioner then filed a Traverse to the Government’s Response

on November 3, 2004.      (Paper 169).          He attempted again to amend his

initial motion to include two additional allegations.5 He expanded

his ineffective assistance of counsel argument to include a claim

that his counsel, Mr. Kanwisher, failed to advise him of the lesser

crime of misprision of felony, 18 U.S.C. § 4.                   (Paper 169, at 4).

Petitioner further alleged that the court lacked jurisdiction to

sentence for crack cocaine or cocaine base because neither is a

scheduled substance.        (Paper 169, at 17).

II.   Standard of Review

      Title   28   U.S.C.      §    2255    requires    a    petitioner    asserting

constitutional error to prove by a preponderance of the evidence



      5
       Once the government has answered a petition, and after
amending once arguably within the one year limitations period, a
petitioner may not amend a second time to add new allegations
without leave of court. Fed.R.Civ.P. 15.

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that “the sentence was imposed in violation of the Constitution or

laws    of   the    United    States,   or   that    the    court       was    without

jurisdiction to impose such sentence, or that the sentence was in

excess of the maximum authorized by law.”                  On the other hand,

“[t]he scope of review of non-constitutional error is more limited

than that of constitutional error; a nonconstitutional error does

not provide a basis for collateral attack unless it involves ‘a

fundamental        defect    which   inherently     results        in   a     complete

miscarriage of justice,’ or is ‘inconsistent with the rudimentary

demands of fair procedure.’”            United States v. Mikalajunas, 186

F.3d 490, 495-96 (4th Cir. 1999) (internal citation omitted).

       While a pro se movant is entitled to have his arguments

reviewed with appropriate consideration, see Gordon v. Leeke, 574

F.2d 1147, 1151-53 (4th Cir.), cert. denied, 439 U.S. 970 (1978),

if the § 2255 motion, along with the files and records of the case,

conclusively shows that he is entitled to no relief, a hearing on

the motion is unnecessary and the claims raised in the motion may

be dismissed summarily.         28 U.S.C. § 2255.

       A conviction and sentence based on a guilty plea can only be

collaterally attacked on relatively narrow grounds, including that

the plea was not voluntary, that the petitioner was not advised by

competent counsel, or that the court clearly lacked authority to

impose the sentence.          United States v. Broce, 488 U.S. 563, 569

(1989).      In addition, statements made by a defendant during a


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hearing, as mandated by Fed.R.Crim.P. 11, to accept his guilty plea

are subject to a strong presumption of veracity, and challenges

under § 2255 that contradict these statements may generally be

dismissed without an evidentiary hearing:

           “[A] defendant’s solemn declarations in open
           court affirming [a plea] agreement AAA ‘carry a
           strong presumption of verity,’” . . . because
           courts must be able to rely on the defendant’s
           statements made under oath during a properly
           conducted Rule 11 plea colloquy. . . .
           “Indeed, because they do carry such a
           presumption, they present ‘a formidable
           barrier   in    any   subsequent     collateral
           proceedings.’ ” . . . Thus, in the absence of
           extraordinary    circumstances,     .    .    .
           allegations in a § 2255 motion that directly
           contradict the petitioner’s sworn statements
           made during a properly conducted Rule 11
           colloquy are always “palpably incredible” and
           “patently frivolous or false.” . . . Thus, in
           the absence of extraordinary circumstances,
           the truth of sworn statements made during a
           Rule 11 colloquy is conclusively established,
           and a district court should, without holding
           an evidentiary hearing, dismiss any § 2255
           motion that necessarily relies on allegations
           that contradict the sworn statements.

United States v. Lemaster, 403 F.3d 216, 221-22 (4th Cir. 2005)

(quoting United States v. White, 366 F.3d 291, 295-96 (4th Cir.

2004)) (citations omitted).

III. Ineffective Assistance of Counsel

     The    standards    governing       constitutionally       ineffective

assistance of counsel claims are well settled under Strickland v.

Washington, 466 U.S. 668, 687 (1984).         To prevail on a claim of

ineffective assistance of counsel, Petitioner must show that his


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attorney’s       performance         fell   below    an    objective     standard     of

reasonableness       and      that    he    suffered      actual   prejudice.         See

Strickland, 466 U.S. at 687.                To demonstrate actual prejudice, he

must    show    there    is    a     “reasonable     probability       that,   but    for

counsel’s unprofessional errors, the result of the proceeding would

have been different.”           Id. at 694.         With regard to a guilty plea,

a showing of prejudice thus requires Petitioner to demonstrate that

but for the alleged failing of counsel, he would have insisted on

going to trial.         Hill v. Lockhart, 474 U.S. 52, 59-60 (1985).                  In

Hill, the United States Supreme Court explained,

               [i]n many guilty plea cases, the “prejudice”
               inquiry will closely resemble the inquiry
               engaged     in      by    courts      reviewing
               ineffective-assistance        challenges       to
               convictions obtained through a trial.         For
               example, where the alleged error of counsel is
               a   failure   to    investigate    or    discover
               potentially     exculpatory    evidence,      the
               determination whether the error “prejudiced”
               the defendant by causing him to plead guilty
               rather than go to trial will depend on the
               likelihood that discovery of the evidence
               would have led counsel to change his
               recommendation as to the plea.               This
               assessment, in turn, will depend in large part
               on a prediction whether the evidence likely
               would have changed the outcome of a trial.
               Similarly, where the alleged error of counsel
               is a failure to advise the defendant of a
               potential affirmative defense to the crime
               charged, the resolution of the “prejudice”
               inquiry will depend largely on whether the
               affirmative    defense    likely    would    have
               succeeded at trial. . . . As we explained in
               Strickland   v.    Washington,   supra,     these
               predictions of the outcome at a possible
               trial, where necessary, should be made
               objectively,     without    regard     for    the

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              “idiosyncrasies             of       the        particular
              decisionmaker.”

474    U.S.   at    59-60    (footnote     and     internal      citations      omitted)

(quoting Strickland, 466 U.S. at 695, and citing Evans v. Meyer,

742 F.2d 371, 375 (7th Cir. 1984)).

       According to Strickland, there exists a strong presumption

that counsel’s conduct was within a wide range of reasonably

professional conduct, and the courts must be highly deferential in

scrutinizing counsel’s performance.                See 466 U.S. at 688-89; Bunch

v.    Thompson,     949    F.2d    1354   (4th   Cir.     1991).        Furthermore,      a

determination        need    not     be   made     concerning           the   attorney’s

performance if it is clear that no prejudice would have resulted

even had the attorney been deficient.                  See Strickland, 466 U.S. at

697.

       A.     Failure to Investigate and
              Introduce Records Demonstrating Innocence

       Petitioner contends that Mr. Kanwisher “failed adequately to

investigate and to introduce into evidence, records that would have

demonstrated Petitioner’s factual innocence and that would have

raised doubts as to that question of guilt.”                     (Paper 148, at 5).

With his Traverse, Petitioner submitted his own affidavit and the

affidavits of two individuals also charged in the indictment.6

Presumably,        the    information     in     the    affidavits       comprises      the


       6
       The latter affidavits are not properly before the court, as
noted in footnote one.

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evidence he claims Mr. Kanwisher should have uncovered. (See Paper

169, Aff. In Support of § 2255 Application; Paper 179, Aff. of

Tyrone Gilbert; Paper 182, Aff. of Eric Lewis).                   Petitioner’s

affidavit asserts that he spent time at the 2205 Virginia Avenue

house (where count five took place) because he was visiting his

ailing aunt.     (Paper 169, Aff. ¶ 3).       He also states that he was

discussing repair work, not a drug deal, with the confidential

informant at the liquor store on December 8, 1999.              (Id. at ¶ 4).

Regarding the March 14, 2000 drug deal, to which Petitioner pleaded

guilty, he asserts that he merely held the drug money.               (Id. at ¶

5).     Petitioner also states that Mr. Kanwisher did not take

promised evidence photographs of the Virginia Avenue house or

interview his aunt and did not appear ready for trial.               (Id. at ¶

8).    The substance of Mr. Gilbert’s affidavit is that Petitioner

was not involved in Mr. Gilbert’s December 8, 1999 drug transaction

with the confidential informant. (Paper 179 ¶¶ 2, 3). Mr. Lewis’s

affidavit contains statements that Petitioner was an unnecessary

intermediary in the March 14, 2000 drug transaction and he held the

money during the sale merely for “show.”          (Paper 182).

      Petitioner’s claim fails.        First, his assertions contradict

his statements under oath at his Rule 11 hearing.              As noted above,

a defendant’s sworn statements during a Rule 11 colloquy “‘carry a

strong presumption of verity,’ and require the dismissal of any §

2255 motion relying on contrary allegations absent ‘extraordinary


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circumstances.’”        Gao v. United States, 375 F.Supp.2d 456, 464

(E.D.Va. 2005) (quoting Lemaster, 403 F.3d at 221-222). Petitioner

informed    the   court    that   he   was    satisfied    with    the   help     Mr.

Kanwisher provided. He did not indicate that his counsel failed to

thoroughly investigate his case.               Nor did he make any of the

assertions he now puts forth in his affidavit.              (Paper 162, Ex. A,

Rearraignment     Tr.     22:10-16).     Petitioner       also    agreed   to     the

statement of stipulated facts, which contradicts his new assertions

that he was not involved in the December 1999 sale and played a

minimal role in the March 2000 transaction.                (Id. at 14:10-18).

Petitioner cannot now be permitted to offer a different version of

facts in support of his § 2255 motion.                    To support his new

allegations, Petitioner has submitted affidavits containing vague

and    uncorroborated      statements    of    his   co-defendants.          These

affidavits are not enough to overcome the “formidable barrier”

established by Petitioner’s sworn Rule 11 colloquy statements.

Blackledge v. Allison, 431 U.S. 63, 74 (1977).                      There is no

indication that Petitioner was unaware of the information in the

affidavits when he pleaded guilty or that this information was not

available to him at the time of the plea.             See Gao, 375 F.Supp.2d

at 464 (denying ineffective counsel claim where petitioner was

aware of the grounds of the claim at the time of the Rule 11

colloquy, but swore that she was satisfied by her counsel).                        In




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sum, Petitioner has not alleged any facts that raise doubts as to

the verity of his statements during the Rule 11 colloquy.

     Further,     Petitioner    has        not    demonstrated        that   he      was

prejudiced by his attorney’s failure to investigate his case and

introduce the affidavits.       Although he alleges that Mr. Kanwisher

failed to take evidentiary photos of the Virginia Avenue house, he

does not explain how those photographs would have established his

innocence. It is also unclear how an interview with his aunt would

have helped his case.        (See Paper 169, Aff. ¶ 8).                Nor were the

codefendants’ statements likely to have led Petitioner’s counsel to

change his recommendation as to the plea.                  See Hill, 474 U.S. at

59-60. The affidavits are not supported by additional evidence and

suffer from a lack of credibility. Most notably, the affidavits do

not undermine the agreed upon fact that “[f]rom November 1999

through November 9, 2001, Watson was involved in the distribution

of at least 50 but not more than 150 grams of cocaine base.” (Paper

79, Plea Agreement, Ex. A “Stipulated Statement of Facts”).                       It is

unlikely that these affidavits would have resulted in a favorable

outcome   for   Petitioner     had    he    gone     to    trial.      Accordingly,

Petitioner’s first claim for ineffective assistance of counsel

fails.

     B.    Minor Participant

     Petitioner    asserts     that    his       counsel    was     ineffective      for

failing to argue for “minor participant” status for Petitioner.


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Pursuant to U.S.S.G. § 3B1.2(b), a defendant’s offense level may be

decreased by two levels “if a defendant was a minor participant in

any criminal activity.”

     Petitioner has not established that Mr. Kanwisher’s failure to

argue for a minor participant reduction fell below the prevailing

professional standards.         Mr. Kanwisher’s decision not to seek a

“minor participant” reduction was a strategic choice made during

the course of the representation.              The court must be highly

deferential when evaluating counsel’s strategic choices.                        See

Strickland,466 U.S. at 689.

     Mr.    Kanwisher’s    decision    was    well   within     the    bounds   of

reasonableness, as § 3B1.2(b) was inapplicable to Petitioner.

Generally, defendants are not entitled to the minor participant

reduction when they are held accountable only for conduct directly

attributable to them.          E.g., United States v. Rosas-Zuloaga, 30

Fed.App’x    62,   63   (4th   Cir.   2002)   (finding     minor      participant

reduction inapplicable for defendant whose offense level was based

on drugs he personally received, not the total amount involved in

the conspiracy); United States v. Excinia, No. 99-4100, 194 F.3d

1306 (table), 1999 WL 760242, at *1 (4th Cir. 1999); United States

v. Rodriguez DeVaron, 175 F.3d 930, 942 (11th Cir. 1999) (en banc).

Here, Petitioner was held accountable for the 50 to 150 grams of

cocaine base he distributed between November 1999 and November

2001, not the quantities distributed by his codefendants.                 (Paper


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79, Plea Agreement, Ex. A, “Stipulated Statement of Facts”).                     In

accordance with the stipulated facts, the court would have rejected

a   request    from   defendant   for    a   minor   participant       reduction.

Therefore, there is no basis on which to find Mr. Kanwisher

deficient for failing to request a § 3B1.2(b) reduction, as counsel

is not required to introduce futile arguments.                     See Oken v.

Corcoran, 220 F.3d 259, 269-70 (4th Cir. 2000) (finding that counsel

was not ineffective for failing to make futile objection at trial).

      C.      Criminal History

      Petitioner argues that Mr. Kanwisher failed to inform the

court properly of his criminal history, which resulted in an

erroneously     calculated    sentence.       He     claims     that   the   court

miscalculated his criminal history by concluding that Petitioner

was on probation at the time he committed the offense. Pursuant to

U.S.S.G. § 4A1.1(d), the court applied two criminal history points

because relevant conduct in the indictment occurred as early as

November 1999, while Petitioner was on probation for a 1998

conviction of CDS possession.            (Paper 115, Sentencing Hr’g Tr.

26:10-22).     Petitioner asserts that his probation ended on January

9, 2000, more than two months before the March 14, 2000 sale that

comprises count five, the only count to which he pleaded guilty.




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Petitioner alleges that Mr. Kanwisher’s failure to correct the

court’s calculation resulted in an enhanced sentence.7

     Petitioner’s    claim     fails     because    it   is     based   on     a

misinterpretation of the sentencing guidelines.              Application Note

4 of the U.S. Sentencing Guidelines Manual § 4A1.1 (2002) explains

that “[t]wo points are added if the defendant committed any part of

the instant offense (i.e., any relevant conduct) while under any

criminal   justice   sentence”   (emphasis    added).         Therefore,      for

criminal history purposes, the court may rely on the entire course

of conduct, not merely the offense to which the defendant pleaded

guilty.    See United States v. Johnson, No. 96-4868, 153 F.3d 723

(table), 1998 WL 387193, at *3 (4th Cir. 1998); United States v.

Jones, 31 F.3d 1304, 1316 (4th Cir. 1994) (“The defendant need not

be convicted of the charges constituting relevant conduct for him

still to be held accountable for them.             Yet the government must

establish the existence of these other incidents by a preponderance

of the evidence.”). Petitioner’s counsel did not err in failing to

advise the court of a mistaken calculation, as the court properly

considered the November 1999 date under the criminal history

guidelines.



     7
        It is not certain that the two points the court added for
criminal history enhanced Petitioner’s sentence.     As the court
noted during the sentencing hearing, Petitioner had four criminal
history points without the § 4A1.1(d) points, which was enough to
place him at Criminal History Level 3. (Paper 115, Sentencing Hr’g
Tr. 26:23-27:1).

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       D.      Lesser Crime of Misprision of Felony8

       In his Traverse, Petitioner alleges that Mr. Kanwisher failed

to inform him of the existence of the crime of misprision of

felony, 18 U.S.C. § 4.         He asserts that misprision of felony more

accurately describes his offense than 21 U.S.C. § 841.                      Misprision

punishes those who have “knowledge of the actual commission of a

felony cognizable by a court of the United States, conceals and

does not as soon as possible make known the same to some judge or

other person in civil or military authority under the United

States.”       18 U.S.C. § 4.          The applicable sentencing range for

misprision is a fine or a term of imprisonment not to exceed three

years.       Id.

       Petitioner cites United States v. Perrone, 936 F.2d 1403, 1415

(2d Cir. 1993), for the proposition that where one statutory

offense      more   accurately      describes     a     defendant’s      conduct     than

another, he is constitutionally entitled to be charged with the

more specific offense.             (Paper 169, at 4).           However, Perrone is

distinguishable from the present case.                    In Perrone, the alleged

facts      only    supported   a    conviction        under   21   U.S.C.      §   841(d)

(possession of chemicals with intent to manufacture cocaine and

with       knowledge   or   reason    to   believe       they    would    be   used    to

manufacture cocaine), yet the defendant was also convicted of 21



       8
       As noted above, this allegation is not properly before the
court, and can be rejected on procedural grounds alone.

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U.S.C. § 841(a) (intending to manufacture more than five kilograms

of cocaine).     936 F.2d at 1415.        As the evidence did not establish

the elements of § 841(a), defendant could not be convicted based

solely on the identical conduct used to convict him of § 841(d).

Id.     By contrast, in the present case, the government has not

attempted to piggyback a more encompassing charge onto a lesser,

narrower charge. In the case at bar, the facts to which Petitioner

agreed support a conviction under 21 U.S.C. § 841(a)(1) and

(b)(1)(C).     The facts in the plea agreement outline conduct that

cannot be punished by misprision of felony alone.                     Accordingly,

Petitioner was not prejudiced           by Mr. Kanwisher’s decision not to

contest the § 841 charge and therefore his ineffective assistance

of counsel claim fails.

IV.    Blakely v. Washington

       Petitioner    asserts     that   the    Supreme      Court’s     Blakely      v.

Washington     decision    prohibited        the   court    from    enhancing       his

sentence based on relevant conduct not specifically set forth in

the    indictment.      (Paper    154).        The    court    will   not   address

Petitioner’s Blakely argument, as Petitioner’s case was final

before the Supreme Court issued the Blakely decision and the Fourth

Circuit has held that Blakely does not apply retroactively to §

2255 motions. Morris v. United States, 429 F.3d 65, 71-72 (4th Cir.

2005).




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V.      Unconstitutional Indictment

        Petitioner    argues   that       he    was   sentenced        pursuant   to    an

unconstitutional indictment.           (Paper 148, at 17).             He alleges that

21 U.S.C. § 841 is unconstitutional because the statute provides

that the type and quantity of the drug are sentencing factors to be

determined by a judge.              The claim appears to be based on the

Supreme Court’s Apprendi v. New Jersey decision, which held that

“other than the fact of a prior conviction, any fact that increases

the penalty for a crime beyond the prescribed statutory maximum

must be submitted to a jury and proved beyond a reasonable doubt.”

530 U.S. 466, 490 (2000).            As Apprendi does not apply where, as

here,       the   sentence   does    not       exceed    the    statutory      maximum,

Petitioner’s claim fails.           Id.

VI.     Subject Matter Jurisdiction9

        Petitioner contends that the court lacked subject matter

jurisdiction to sentence him because crack cocaine and cocaine base

are not scheduled substances.             (Paper 169).         This claim is without

merit, as both crack cocaine and cocaine base fall within Schedule

II’s definition.        United States v. Moses, 15 Fed. App’x 146, 148

(4th Cir. 2001). “Schedule II lists ‘cocaine, its salts...or any

compound, mixture, or preparation which contains any quantity of’

cocaine or its salts. ‘Because cocaine base and crack cocaine are



        9
       Again, this issue is raised in Petitioner’s Traverse, which
is an impermissible second amendment without leave of court.

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mixtures that contain cocaine...both substances are encompassed by

schedule II’s definition.’” United States v. Moore, 470 F.3d 767,

769 (8th Cir. 2006) (quoting Sanders v. United States, 237 F.3d 184,

185 (2d Cir. 2001) (per curiam)).

VII. Conclusion

     For the foregoing reasons Petitioner’s motion to vacate his

sentence will be denied.     A separate Order will follow.



                                         /s/
                                 DEBORAH K. CHASANOW
                                 United States District Judge




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